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 8                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
 9
10     Scott Johnson,                            Case No.
11               Plaintiff,
12                                               Complaint For Damages And
         v.                                      Injunctive Relief For Violations
13                                               Of: Americans With Disabilities
       New Civic Company, LTD., a                Act; Unruh Civil Rights Act
14     California Corporation;
       Com Howard I LLC, a Delaware
15     Limited Liability Company; and
       Does 1-10,
16               Defendants.
17
18         Plaintiff Scott Johnson complains of New Civic Company, LTD., a
19   California Corporation; Com Howard I LLC, a Delaware Limited Liability
20   Company; and Does 1-10 (“Defendants”), and alleges as follows:
21
22
23     PARTIES:

24     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a

25   level C-5 quadriplegic. He cannot walk and also has significant manual

26   dexterity impairments. He uses a wheelchair for mobility and has a specially

27   equipped van.

28     2. Defendant New Civic Company, LTD. owned the real property located


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 1   at or about 50 8th St, San Francisco, California, between July 2019 and March
 2   2020.
 3     3. Defendant New Civic Company, LTD. owns the real property located at
 4   or about 50 8th St, San Francisco, California, currently.
 5     4. Defendant Com Howard I LLC owned BEI Hotel San Francisco located
 6   at or about 50 8th St, San Francisco, California, between July 2019 and March
 7   2020.
 8     5. Defendant Com Howard I LLC owns BEI Hotel San Francisco (“Hotel”)
 9   located at or about 50 8th St, San Francisco, California, currently.
10     6. Plaintiff does not know the true names of Defendants, their business
11   capacities, their ownership connection to the property and business, or their
12   relative responsibilities in causing the access violations herein complained of,
13   and alleges a joint venture and common enterprise by all such Defendants.
14   Plaintiff is informed and believes that each of the Defendants herein,
15   including Does 1 through 10, inclusive, is responsible in some capacity for the
16   events herein alleged, or is a necessary party for obtaining appropriate relief.
17   Plaintiff will seek leave to amend when the true names, capacities,
18   connections, and responsibilities of the Defendants and Does 1 through 10,
19   inclusive, are ascertained.
20
21     JURISDICTION & VENUE:
22     7. The Court has subject matter jurisdiction over the action pursuant to 28
23   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
24   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
25     8. Pursuant to supplemental jurisdiction, an attendant and related cause
26   of action, arising from the same nucleus of operative facts and arising out of
27   the same transactions, is also brought under California’s Unruh Civil Rights
28   Act, which act expressly incorporates the Americans with Disabilities Act.


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 1     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 2   founded on the fact that the real property which is the subject of this action is
 3   located in this district and that Plaintiff's cause of action arose in this district.
 4
 5
 6     FACTUAL ALLEGATIONS:
 7     10. Plaintiff went to the Hotel in July 2019, February 2020 and March 2020
 8   with the intention to avail himself of its services motivated in part to determine
 9   if the defendants comply with the disability access laws.
10     11. The Hotel is a facility open to the public, a place of public
11   accommodation, and a business establishment.
12     12. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
13   to provide wheelchair accessible parking in conformance with the ADA
14   Standards as it relates to wheelchair users like the plaintiff.
15     13. The Hotel provides parking to its customers but fails to provide
16   wheelchair accessible parking.
17     14. A couple of problems that plaintiff encountered is that the parking space
18   marked and reserved for persons with disabilities with slopes that exceeded
19   2.1%.
20     15. Additionally, there was not enough vertical clearance in the parking
21   garage.
22     16. Plaintiff believes that there are other features of the parking that likely
23   fail to comply with the ADA Standards and seeks to have fully compliant
24   parking available for wheelchair users.
25     17. On information and belief the defendants currently fail to provide
26   wheelchair accessible parking.
27     18. Additionally, on the dates of the plaintiff’s visits, the defendants failed
28   to provide wheelchair accessible paths of travel in conformance with the ADA


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 1   Standards as it relates to wheelchair users like the plaintiff.
 2     19. The Hotel provides paths of travel to its customers but fails to provide
 3   wheelchair accessible paths of travel.
 4     20. The problem that plaintiff encountered is that the path of travel to the
 5   hotel lobby entrance required a person to navigate steps for which there was no
 6   ramp. Although there was an alternative accessible entrance, there was no
 7   directional signage posted at the inaccessible entrance that would direct
 8   wheelchair users to an alternative accessible entrance.
 9     21. Plaintiff believes that there are other features of the paths of travel that
10   likely fail to comply with the ADA Standards and seeks to have fully compliant
11   paths of travel available for wheelchair users.
12     22. On information and belief the defendants currently fail to provide
13   wheelchair accessible paths of travel.
14     23. Moreover, on the dates of the plaintiff’s visits, the defendants failed to
15   provide wheelchair accessible guestrooms in conformance with the ADA
16   Standards as it relates to wheelchair users like the plaintiff.
17     24. The Hotel provides guestrooms to its customers but fails to provide a
18   mix of wheelchair accessible guestrooms.
19     25. A couple problems that plaintiff encountered is that none of the
20   guestrooms designed for persons with disabilities provided two beds.
21     26. Plaintiff believes that there are other features of the guestrooms that
22   likely fail to comply with the ADA Standards and seeks to have fully compliant
23   guestrooms available for wheelchair users.
24     27. On information and belief the defendants currently fail to provide
25   wheelchair accessible guestrooms.
26     28. These barriers relate to and impact the plaintiff’s disability. Plaintiff
27   personally encountered these barriers.
28     29. As a wheelchair user, the plaintiff benefits from and is entitled to use


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 1   wheelchair accessible facilities. By failing to provide accessible facilities, the
 2   defendants denied the plaintiff full and equal access.
 3     30. The failure to provide accessible facilities created difficulty and
 4   discomfort for the Plaintiff.
 5     31. The defendants have failed to maintain in working and useable
 6   conditions those features required to provide ready access to persons with
 7   disabilities.
 8     32. The barriers identified above are easily removed without much
 9   difficulty or expense. They are the types of barriers identified by the
10   Department of Justice as presumably readily achievable to remove and, in fact,
11   these barriers are readily achievable to remove. Moreover, there are numerous
12   alternative accommodations that could be made to provide a greater level of
13   access if complete removal were not achievable.
14     33. Plaintiff will return to the Hotel to avail himself of its services and to
15   determine compliance with the disability access laws once it is represented to
16   him that the Hotel and its facilities are accessible. Plaintiff is currently
17   deterred from doing so because of his knowledge of the existing barriers and
18   his uncertainty about the existence of yet other barriers on the site. If the
19   barriers are not removed, the plaintiff will face unlawful and discriminatory
20   barriers again.
21     34. Given the obvious and blatant nature of the barriers and violations
22   alleged herein, the plaintiff alleges, on information and belief, that there are
23   other violations and barriers on the site that relate to his disability. Plaintiff will
24   amend the complaint, to provide proper notice regarding the scope of this
25   lawsuit, once he conducts a site inspection. However, please be on notice that
26   the plaintiff seeks to have all barriers related to his disability remedied. See
27   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
28   encounters one barrier at a site, he can sue to have all barriers that relate to his


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 1   disability removed regardless of whether he personally encountered them).
 2
 3   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 4   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 5   Defendants.) (42 U.S.C. section 12101, et seq.)
 6     35. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 7   again herein, the allegations contained in all prior paragraphs of this
 8   complaint.
 9     36. Under the ADA, it is an act of discrimination to fail to ensure that the
10   privileges, advantages, accommodations, facilities, goods and services of any
11   place of public accommodation is offered on a full and equal basis by anyone
12   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
13   § 12182(a). Discrimination is defined, inter alia, as follows:
14            a. A failure to make reasonable modifications in policies, practices,
15                or procedures, when such modifications are necessary to afford
16                goods,    services,    facilities,   privileges,    advantages,   or
17                accommodations to individuals with disabilities, unless the
18                accommodation would work a fundamental alteration of those
19                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
20            b. A failure to remove architectural barriers where such removal is
21                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
22                defined by reference to the ADA Standards.
23            c. A failure to make alterations in such a manner that, to the
24                maximum extent feasible, the altered portions of the facility are
25                readily accessible to and usable by individuals with disabilities,
26                including individuals who use wheelchairs or to ensure that, to the
27                maximum extent feasible, the path of travel to the altered area and
28                the bathrooms, telephones, and drinking fountains serving the


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 1                altered area, are readily accessible to and usable by individuals
 2                with disabilities. 42 U.S.C. § 12183(a)(2).
 3     37. When a business provides parking for its customers, it must provide
 4   accessible parking.
 5     38. Here, accessible parking has not been provided in conformance with the
 6   ADA Standards.
 7     39. When a business provides paths of travel, it must provide accessible
 8   paths of travel.
 9     40. Here, accessible paths of travel have not been provided in conformance
10   with the ADA Standards.
11     41. When a business provides facilities such as a guestroom, it must provide
12   an accessible guestroom.
13     42. Here, none of the guestrooms designed for persons with disabilities
14   provided two beds.
15     43. The Safe Harbor provisions of the 2010 Standards are not applicable
16   here because the conditions challenged in this lawsuit do not comply with the
17   1991 Standards.
18     44. A public accommodation must maintain in operable working condition
19   those features of its facilities and equipment that are required to be readily
20   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
21     45. Here, the failure to ensure that the accessible facilities were available
22   and ready to be used by the plaintiff is a violation of the law.
23
24   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
25   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
26   Code § 51-53.)
27     46. Plaintiff repleads and incorporates by reference, as if fully set forth
28   again herein, the allegations contained in all prior paragraphs of this


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 1   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 2   that persons with disabilities are entitled to full and equal accommodations,
 3   advantages, facilities, privileges, or services in all business establishment of
 4   every kind whatsoever within the jurisdiction of the State of California. Cal.
 5   Civ. Code §51(b).
 6      47. The Unruh Act provides that a violation of the ADA is a violation of the
 7   Unruh Act. Cal. Civ. Code, § 51(f).
 8      48. Defendants’ acts and omissions, as herein alleged, have violated the
 9   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
10   rights to full and equal use of the accommodations, advantages, facilities,
11   privileges, or services offered.
12      49. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
13   discomfort or embarrassment for the plaintiff, the defendants are also each
14   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
15   (c).)
16      50. Although the plaintiff encountered frustration and difficulty by facing
17   discriminatory barriers, even manifesting itself with minor and fleeting
18   physical symptoms, the plaintiff does not value this very modest physical
19   personal injury greater than the amount of the statutory damages.
20
21             PRAYER:
22             Wherefore, Plaintiff prays that this Court award damages and provide
23   relief as follows:
24           1. For injunctive relief, compelling Defendants to comply with the
25   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
26   plaintiff is not invoking section 55 of the California Civil Code and is not
27   seeking injunctive relief under the Disabled Persons Act at all.
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 1      2. Damages under the Unruh Civil Rights Act, which provides for actual
 2   damages and a statutory minimum of $4,000 for each offense.
 3      3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 4   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 5
     Dated: October 1, 2020                 CENTER FOR DISABILITY ACCESS
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 8
                                            By: _______________________
 9
                                            Amanda Seabock, Esq.
10                                          Attorney for plaintiff
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